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                                                                                   BY    AN 015' RIC TOr CALIFI DRNlA
    4
                                     UNITED STATES DISTRICT COUIrt                                           D~ PUTV
    5
                               SOUTHERN DISTRICT OF CALIFO RNIA
    6

    7

    8   In the Matter of Attorneys Suspended or              Case No.: 16MCl13 7

    9   Disbarred by the State Bar of California,            ORDER
10

11

12

13
               On October 11, 2016 the Court ordered the following attorne ys to show cause why they
    4
        should not be suspended or disbarred by this Court as a result of being disbarred, suspended, or
15
        placed on the inactive list by the State Bar of California:
16

1

1              Disbarment: 

               Stephen Kenneth Chrysler (CA State Bar #165677) 

19             James Mazi Parsa (CA State Bar #153389) 

               Lynne Margery Romano (CA State Bar #123413) 

20
               Paul Ernest Vallone (CA State Bar #168395) 

21

22             Suspension: 

               Krishna Gene Haney (CA State Bar#229652) 

23
               Joseph Darrell Palmer (CA State Bar#125147) 

24             Manuel Luis Ramirez (CA State Bar#l 03054) 

               Robert Lee Waldman (CA State Bar#120397) 

25             David Wyser (CA State Bar#154190) 

26
               John Christen TOljesen (CA State Bar#141664) 

               Jerry Gruenbaum (CA State Bar#181916) 

27             Charles Conrad LoBello (CA State Bar#136597) 

               Art Hoomiratana (CA State Bar#247253) 

28
               Michael B Stone (CA State Bar#160177) 

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    1    Douglas Alan Bader (CA State Bar#182315) 

    2
         Joseph Malte Bickley (CA State Bar#171766) 

         Joseph E Gerbac (CA State Bar#038568) 

    3    James Rudolph Andrews (CA State Bar#277734) 

         Lauren M Arens (CA State Bar#261946) 

    4
         Elizabeth Ann Barker (CA State Bar#074112) 

    5    Thomas James Bayard (CA State Bar#226247) 

         Glenn Frank Beckett (CA State Bar#107662) 

    6    Lynn Larson Bell (CA State Bar#105939) 

         Donna Stemicki Beltran (CA State Bar#219288) 

    7
         Douglas William Benson (CA State Bar#149330) 

    8    Lynne Patrice Bigley (CA State Bar#136777) 

         Elizabeth Kassay Bohannon (CA State Bar# 161315) 

    9    Samantha C Booth (CA State Bar#298852) 

         David Jay Brezner (CA State Bar#038420) 

10
         Robert Hafen Briggs (CA State Bar#075924) 

11       Floyd Ray Brown (CA State Bar#032821) 

         Brendt Curtis Butler (CA State Bar#211273) 

12       Ann Aekyung Byun (CA State Bar#161593) 

         Stephen Eugene Carr (CA State Bar#095713) 

13
         Meridith Lynn Casat (CA State Bar#1925 18) 

    4    Sandra Muller Chazen (CA State Bar#175903) 

         Michael R Chiappetta (CA State Bar#185256) 

    5    Linda Hope Clarke (CA State Bar#125616) 

16
         James Bryon Cohoon (CA State Bar#093644) 

         Andrew Abram Cross (CA State Bar#203985) 

    7    Daniel William Crotta (CA State Bar#086140) 

         Bernard Richard Deetman (CA State Bar#120511) 

18
         Michael Howard Diamond (CA State Bar#112592) 

19       Robert Doug Donesky (CA State Bar#132484) 

         Helen Lalich Duncan (CA State Bar#101661) 

20       B. Kwaku Duren (CA State Bar#147789) 

         Stacy Lea Edwards (CA State Bar#176282) 

21
         Woodrow Douglas English III (CA State Bar#140513) 

2        Kristin Lynn Epperson (CA State Bar#138292) 

         Catherine Anne Evans (CA State Bar#139554) 

23       Joanne Elaine Evoy (CA State Bar#115591) 

         Arthur Evry (CA State Bar#040160) 

24
         Michael J Farrell (CA State Bar#266553) 

25       Enzo Finelli (CA State Bar#185067) 

         James Harry Fosbinder (CA State Bar#147801) 

26       George Douglas Fout (CA State Bar#099282) 

         Lee Howard Freedman (CA State Bar#183410) 

27
         Alastair James Gamble (CA State Bar#264039) 

    8    Ann Marie Ghazarians (CA State Bar#119740) 




                                                  2
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    1    David Erwin Gilbert (CA State Bar#099699) 

    2
         Ronnie Richard Gipson, Jr. (CA State Bar#237673) 

         Michael Joseph Gray (CA State Bar#174223) 

    3    Andrea Jacqueline Green (CA State Bar#] 70082) 

         Linda Kay Grimes (CA State Bar#120565) 

         Eric Guerrero (CA State Bar#260648) 

    5    Larry Gene Gutteridge (CA State Ba1"#105734) 

         Jeb Bradley Hall (CA State Bar#211130) 

    6    Amanda Gerke Halter (CA State Bar#254084) 

         Gregory Lee Handevidt (CA State Bar#220500) 

    7
         Thomas Mortimer Herlihy (CA State Bar#083615) 

    8    Ryan Coby Hess (CA State Bar#263079) 

         David Allen Hiersekorn (CA State Bar#237471) 

    9    Ronald Gene Holbert (CA State Bar#087254) 

         Art Hoomiratana (CA State Bar#247253) 

10
         Gordon Keith Hubel (CA State Bar#081947) 

1        R. Timothy Ireland (CA State Bar#145320) 

         Kelly Scott Johnson (CA State Bar#134520) 

12       Kenneth Gerald Jones (CA State Bar#196868) 

         Richard Allen Jones (CA State Bar#135248) 

13
         Eskinder Kebret (CA State Bar#255803) 

    4    Maxwell P. Keith (CA State Bar #022489) 

         David Bruce Koch (CA State Bar #145908) 

    5    Richard Michael Koep (CA State Bar # 100734) 

16
         Paul Martin Krekorian (CA State Bar #115953) 

         Deepa Krishnan (CA State Bar #228664) 

1        Ann Elizabeth LaVoy (CA State Bar #133656) 

         Derek Leon Ledda (CA State Bar #091797) 

    8    Brooke Anne Loesby (CA State Bar#244588) 

19       Richard Lee Lugge (CA State Bar#087509) 

         Marcus Aaron Luna (CA State Bar#194366) 

20       Charlotte Ninomiya Makoff (CA State Bar# 131323) 

         James Nasos Mancuso (CA State Bar#135687) 

21
         John Edwin Masek (CA State Bar#145231) 

22       Matthew Glenn Markham (CA State Bar#I 09552) 

         Cynthia Ann Mobley (CA State Bar#139335) 

23       David Scott Mohney (CA State Bar#124426) 

         Ronny Mor (CA State Bar#248274) 

24
         Stephen Thomas Mugglebee (CA State Bar#051199) 

25       Russell Bret Murphy (CA State Bar#150298) 

         Saira Karim Najam (CA State Bar#291578) 

26       Carlos Francisco Negrete (CA State Bar#134658) 

         Alan Douglas Negron (CA State Bar#174256) 

27
         Caroline B Nelson (CA State Bar#188153) 

28       Erik AloisyNowacki (CA State Bar#177613) 




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      Case 3:16-mc-01137 Document 17 Filed 12/14/16 PageID.49 Page 4 of 7




 .L
       David Peter O'Brien (CA State Bar#189675) 

 2
       Amy Elaine Owens (CA State Bar#2084 I 3) 

       Paula .10 Page (CA State Bar#160254) 

 3     Gary Wanki Park (CA State Bar#173390) 

       Deborah E Parker (CA State Bar#178434) 

 4
       John Cardinal Parks (CA State Bar#129509) 

 5     Mary Lynne Perry (CA State Bar#101207) 

       Huggy Lamar Price (CA State Bar#235639) 

 E     Michael Alan Qualls (CA State Bar#140490) 

       Paula Quintiliani (CA State Bar#198208) 

 7
       Cory Michael Ravid (CA State Bar#165260) 

 8     Ronald Leland-Walter Reich (CA State Bar#246320) 

       Douglas Jay Renert (CA State Bar#168880) 

 9     Stephanie Rae Renner (CA State Bar#217241) 

       Jon N Robbins (CA State Bar#085557) 

10
       Clifford Wiley Roberts Jr (CA State Bar#080597) 

11     Mark Duncan Rochelle (CA State Bar#194062) 

       Charles Philip Rullman (CA State Bar#241772) 

12     Gregory Victor Ruzicka (CA State Bar#098463) 

       Ruben Daniel Sanchez (CA State Bar#164298) 

       Lisa Marie Schull (CA State Bar#196132) 

14     Kim Dennise Scovis (CA State Bar#182059) 

       Peter Shenas (CA State Bar#029348) 

:5     David Roger Sholis (CA State Bar#149176) 

16
       Herchel McCoy Sims (CA State Bar#154185) 

       Rodney Scott Sims (CA State Bar#170180) 

17     Jerri Lynn Solomon (CA State Bar#177342) 

       Matthew Lee Spiegel (CA State Bar#238030) 

18     Kathy Wagner Stein (CA State Bar#132712) 

19     Gerald Howard Sternberg (CA State Bar#096110) 

       Thomas Nelson Stewart III (CA State Bar#088 128) 

20     Robert L Stolebarger (CA State Bar#230495) 

       Gregory James Stuman (CA State Bar#163136) 

21
       Kay L Sunday (CA State Bar#092061) 

 2     Robert Elliott Suttle (CA State Bar#046030) 

       Susan Ann Swingle (CA State Bar#242124) 

23     Jennifer Lane Taylor (CA State Bar#212767) 

       Natalie Elaine Taylor (CA State Bar#140294) 

24
       John Christen Torjesen (CA State Bar#141664) 

2S     Vi Katerina Tran (CA State Bar#2444 I 2) 

       Geraldine Anthea Valdez (CA State Bar#174305) 

 6     Jacqueline lola Valenzuela (CA State Bar#073456) 

       Max Benjamin Valerio (CA State Bar#196766) 

27
       Michelle Jodi Wachs (CA State Bar#168393) 

28     Matthew McDonnell Walsh (CA State Bar#175004) 




                                                4
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         Robert James Waters (CA State Bar#067952) 

         Stuart Weinstein (CA State Bar #160049) 

         Dennis Joseph Whelan (CA State Bar #161638) 

    3    Anthony Wayne White (CA State Bar #170873) 

         Lonnie Michael Wilson (CA State Bar #206149) 

    4
         Debra Ann Winiarski (CA State Bar #241328) 

    5    Jack Marvin Winick (CA State Bar #068512) 

         Jessica Lynne Yared (CA State Bar #267658) 

    6

         Involuntary Inactive Enrollment: 

    8
         Stephen Howard Beecher (CA State Bar#137509) 

         James Edward Griswold (CA State Bar#207294) 

    9    Rodger B Haglund II (CA State Bar#216427) 

         William Joseph Hudak (CA State Bar#075290) 

],0
         Carlos Francisco Negrete (CA State Bar#134658) 

11
         Stefan Ghaemi (CA State Bar#281280) 

         Daniel Eugene Hibbard (CA State Bar#138147) 

12       Daniel Bernard Lantry (CA State Bar #155453) 

         Thomas Michael Abbott (CA State Bar #113288) 

13
         Paul Francis Adams (CA State Bar #106984) 

14       David Todd Alexander (CA State Bar #049996) 

         Terry Lloyd Allen (CA State Bar #134039) 

15       Susan Marie Bales (CA State Bar#145262) 

         AsIan Bananzadeh (CA State Bar#262608) 

16
         Joel Richard Bander (CA State Bar#119460) 

17       Hitesh Surendra Barot (CA State Bar#215547) 

         Thomas Victor Barrin!.,tton (CA State Bar#110204) 

    8    Steven Joseph Barth (CA State Bar#I 04204) 

         Marisa M Bavand (CA State Bar#185488) 

    9
         Judith Lillian Bayard (CA State Bar#147051) 

20       Thomas James Bayard (CA State Bar#226247) 

         Ronald Bret Beattie (CA State Bar#150068) 

         R. G. Bellows (CA State Bar#097416) 

    2
         Douglas James Billings (CA State Bar#169881) 

         Elizabeth Kassay Bohannon (CA State Bar#161315) 

    3    Stephen Kent Bollinger (CA State Bar#134301) 

         Samantha C. Booth (CA State Bar#298852) 

    4
         David Jay Brezner (CA State Bar#038420) 

25
         Templeton Briggs Jr. (CA State Bar#059173) 

         Richard Charles Brizendine (CA State Bar#101597) 

26       David Julian Brown (CA State Bar#056628) 

         Floyd Ray Brown (CA State Bar#032821) 

2
         Ann Aekyung Byun (CA State Bar#161593) 

    8    Scott Michael Cantor (CA State Bar#079851) 

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                Meridith Lynn Casat (CA State Bar#192518) 

                Betty Jane Champlin (CA State Bar#059221) 

                Rick Clabby (CA State Bar#089044) 

    3           Linda Hope Clarke (CA State Bar #125616) 

                Christin Holly Crawford (CA State Bar #241732) 

    4
                Michael Howard Crosby (CA State Bar #125778) 

    5           Jayne Frances Cucchiara (CA State Bar #218638) 

                Shahram Dardashti (CA State Bar #183334) 

    6           Anthony Ross Delling (CA State Bar #081798) 

                Anthony Angelo DeCorso (CA State Bar #110453) 

                Michael Howard Diamond (CA State Bar #112592) 

    8           Kent Wycliffe Easter (CA State Bar #199838) 

                Stacy Lea Edwards (CA State Bar #176282) 

    9           David John Estes (CA State Bar #211620) 

                Catherine Anne Evans (CA State Bar #139554) 

    o           Joalme Elaine Evoy (CA State Bar #115591) 

11              Arthur Evry (CA State Bar #040160) 

                Michael J Farren (CA State Bar #266553) 

12              Linda Beth Fenton (CA State Bar # 128105) 

                Glenn Michael Finch (CA State Bar #081874) 

13
                Alice L Fontier (CA State Bar #229994) 

14              Ernest Richard Fraley (CA State Bar #031277) 

                Paul Leo Freese Jr (CA State Bar #139133) 

                Mark Andrew Golovach (CA State Bar #220760) 

    6
                Michael Alan Grant (CA State Bar #097330) 

                David Scott Grove (CA State Bar #138091) 

17              Orrin Leigh Grover III (CA State Bar #064153) 

18

19
        None of the listed attorneys have responded. Therefore, the Court orders that the attorneys listed
20
        above as being disbarred by the State Bar of California are disbarred from membership in the bar
21
        of this Court. The Court also orders that the attorneys listed above as being suspended or placed
2       on the inactive list by the State Bar of California are suspended from membership in the bar of
2       this court.
24

25      Any attorney seeking reinstatement may file a petition with the Clerk of the Court with

    6   supporting documentation showing that he or she meets the requirements of Civil Local Rule
27      83.3.c.l.a. This petition will be determined by the chiefjudge.
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 1            The Clerk of the Court is directed to serve a copy of this order upon each of the liste
 2
    attorneys at the address indicated in this Court's attorney maintenance records.
 3


 4

               IT IS SO ORDERED.



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 7
                                        BARR TED MOSKOWITZ, ChIef Judge 

                                                United States District Court 

                                                                                                        

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